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 1   McGREGOR W. SCOTT
     United States Attorney
 2   VIRNA L. SANTOS
     Assistant U.S. Attorney
 3   Federal Courthouse
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5

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 8                      IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             )      No. 1:06cr00028 AWI
                                                           )
12                         Plaintiff,                      )      STIPULATION AND ORDER TO
                                                           )      VACATE TRIAL DATE AND
13                                                         )      ENTER CHANGE OF PLEA
                            v.                             )
14                                                         )
     SUKHMINDER SINGH,                                     )
15                                                         )
                           Defendant.                      )
16                                                         )

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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, VIRNA L. SANTOS, Assistant United States Attorneys for the government, and
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     ROBERT RAINWATER, attorney for SUKHMINDER SINGH, to vacate the trial date currently
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     set for September 26, 2006 and set a change of plea hearing for October 23, 2006 at 9:00 a.m.
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            The parties have reached an agreement in principle that will result in the defendant entering
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     a guilty plea. However, the government requires additional time to verify some information
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     necessary to craft the plea agreement. Likewise, the defendant needs additional time to review and
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     sign the proposed plea agreement. Should the matter not resolve as expected, the defendant
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 1   requires additional time for defense investigation and trial preparation.

 2          Both parties stipulate that time shall be excluded for the above purposes until the new

 3   hearing date of October 23, 2006, pursuant to 18 U.S.C. § 3161(h)(8)(A).

 4   IT IS SO STIPULATED,

 5   Dated: August 31, 2006                                McGREGOR W. SCOTT
                                                           United States Attorney
 6
                                                           /s/ Virna L. Santos
 7                                                          VIRNA L. SANTOS
                                                           Assistant U. S. Attorney
 8
     Dated: August 31, 2006                                /s/ Robert Rainwater
 9                                                         ROBERT RAINWATER
                                                           Attorney for Suhkminder Singh
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11
                                                   ORDER
12
            The parties’ stipulated request to vacate the trial date of September 26, 2006 and set a
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     change of plea hearing on October 23, 2006 at 9:00 a.m. is hereby GRANTED. Time shall be
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     excluded pursuant to 18 U.S.C. § 3161(h)(8)(A) at both parties’ request to allow for further
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     investigation and trial preparation by defense counsel.
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     IT IS SO ORDERED.
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     Dated:     September 1, 2006                       /s/ Anthony W. Ishii
19   0m8i78                                       UNITED STATES DISTRICT JUDGE

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